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12   Attorneys for Plaintiff WPEngine, Inc.

13                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15 WPENGINE, INC., a Delaware corporation,            Case No. 3:24-cv-06917-AMO

16                Plaintiff,                          DECLARATION OF SARA JENKINS IN
                                                      SUPPORT OF PLAINTIFF WPENGINE,
17
           vs.                                        INC.’S REPLY IN SUPPORT OF ITS
18                                                    MOTION FOR PRELIMINARY
   AUTOMATTIC INC., a Delaware corporation;           INJUNCTION
19 and MATTHEW CHARLES MULLENWEG,
   an individual,                                     Judge: Honorable Araceli Martínez-Olguín
20                                                    Courtroom: 3, Oakland Courthouse
                  Defendants.                         Hearing Date: November 26, 2024
21
                                                      Hearing Time: 10:30 a.m.
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                                                      1                     Case No. 3:24-cv-06917-AMO
                                                                 REPLY DECLARATION OF SARA JENKINS
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 1 I, Sara Jenkins, declare as follows:

 2          1.     I am Of Counsel at Quinn Emanuel Urquhart & Sullivan, LLP, counsel for Plaintiff

 3 WPEngine, Inc. in this action. I am licensed to practice law in California and admitted to practice

 4 in the Northern District of California. I make this Declaration in support of Plaintiff WPEngine,

 5 Inc.’s (“WPE”) Reply In Support Of Its Motion for Preliminary Injunction. I have personal

 6 knowledge of the facts stated herein, and if called as a witness, I could and would testify thereto.

 7                  Defendants’ Statements About the Ownership of wordpress.org
 8          2.     Attached hereto as Exhibit 37 is a true and correct copy of a webpage located at the

 9 following link: https://wordpress.org/support/topic/wordpress-org-administration/. This page of the

10 wordpress.org website is titled “WordPress.org Administration.” In response to a question about

11 the ownership of wordpress.org, “luisherranz,” who is identified as a “Software engineer at

12 Automattic,” in the “Profiles” section of the wordpress.org website states, “WordPress.org is not

13 ‘owned’ in the traditional sense, as it’s an open-source project.” The post goes on to state that “no

14 one owns WordPress.org for practical purposes.” On November 3, 2024, I caused a screenshot to

15 be taken of this webpage, which is shown below.

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 1          3.     Attached hereto as Exhibit 38 is a true and correct copy of a webpage located at the

 2 following link: https://wordpress.org/support/topic/who-owns-wordpress-org/. On the webpage,

 3 “Jan Dembowski,” a wordpress.org forum moderator, states, “No one [owns] WordPress.org” for

 4 the purposes of a user who is asking who owns wordpress.org because the user was looking for a

 5 representative of wordpress.org to sign an agreement. On November 3, 2024, I caused a screenshot

 6 to be taken of this webpage, which is shown below.

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12          4.     Attached hereto as Exhibit 39 is a true and correct copy of a post on X.com dated

13 October 23, 2024. In this post, the user states that the connection between “w.org” (wordpress.org)

14 is “linked everywhere” to the WordPress Foundation and is “hardcoded into WordPress [software]

15 and cited by the foundation as the official WordPress resource.” On November 3, 2024, I caused a

16 screenshot         to       be        taken        of       this       post        located        at

17 https://x.com/eliottstephen/status/1849132852429906342, which is shown below.

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 1          5.      Attached hereto as Exhibit 40 is a true and correct copy of a webpage located at the

 2 following link: https://wordpressfoundation.org/projects/.      This webpage from the WordPress

 3 Foundation’s website is titled “Projects” and lists “WordPress” as one of the Foundation’s projects

 4 and links to https://wordpress.org. On November 3, 2024, I caused a screenshot to be taken of this

 5 webpage, which is shown below.

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            6.      Attached hereto as Exhibit 41 is a true and correct copy of a webpage located at the
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     following link: https://web.archive.org/web/20110923170547/http://codex.wordpress.org:80/
14
     Hardening_WordPress. This webpage comes from the Internet Archive’s Wayback Machine from
15
     September 23, 2011. The Internet Archive states that the Wayback Machine makes more than 28
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     years of web history accessible to the public. See https://archive.org/about/. This webpage is titled
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     “Hardening WordPress,” and states that users should “never download or install WordPress from
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     any website other than http://wordpress.org” (emphasis in original). On November 3, 2024, I caused
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     a screenshot to be taken of this webpage, which is shown below.
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            7.      Attached hereto as Exhibit 42 is a true and correct copy of a webpage located at the
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     following link: https://developer.wordpress.org/advanced-administration/security/hardening/. This
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     webpage is titled “Hardening WordPress” and states that users should “never download or install
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     WordPress from any website other than http://wordpress.org” (emphasis in original). On November
28
     3, 2024, I caused a screenshot to be taken of this webpage, which is shown below.

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                 WordPress Community Comments Regarding Their Stated Understanding
 6                              of the Ownership of wordpress.org

 7          8.       Attached hereto as Exhibit 43 is a true and correct copy of a post on Reddit.com

 8 dated October 22, 2024. In this post, the user states, “I was today old when I found out:

 9 Wordpress.org is not owned by the WordPress foundation.” Another user wrote, “the vast

10 majority of us thought that wordpress/.org was part of the Foundation.” On November 3, 2024, I

11 caused three screenshots to be taken of this post, located at https://www.reddit.com/r/Wordpress/

12 comments/1gab4wq/i_was_today_old_when_i_found_out_wordpressorg_is/, which is shown

13 below.

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 1          9.      Attached hereto as Exhibit 44 is a true and correct copy of a post on X.com dated

 2 October 24, 2024. In this post, the user states, “If O’Reilly is confused about WordPress, then I

 3 feel ok being confused.” O’Reilly refers to a website which published a “WordPress Bible.” On

 4 November 3, 2024, I caused a screenshot to be taken of this post located at

 5 https://x.com/hashim_warren/status/1849425065902760183, which is shown below.

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            10.     Attached hereto as Exhibit 45 is a true and correct copy of a post on X.com dated
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     October 23, 2024. The user states, “I was today years old when I learned .org did not belong to the
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     WordPress Foundation.” On November 3, 2024, I caused a screenshot to be taken of this post
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     located at https://x.com/cdils/status/1849223389564617159, which is shown below.
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17                         Mullenweg’s Statements About Taking Over Plugins

18         11.    Attached hereto as Exhibit 46 is a true and correct copy of a webpage located at the

19 following       link:       https://www.therepository.email/mullenweg-threatens-to-take-over-paid-

20 memberships-pro.        The webpage states, “Matt Mullenweg has threatened to take over Paid

21 Memberships Pro (PMPro) in the WordPress.org plugin repository.” On November 3, 2024, I

22 caused a screenshot to be taken of this webpage, which is shown below.

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                                            TrustPilot Reviews
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            12.     Attached hereto as Exhibit 47 is a true and correct copy of a webpage located at the
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     following link: https://www.trustpilot.com/review/wpengine.com. The webpage states that WP
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     Engine has a Trustpilot rating of 4.7 stars out of 5. On November 3, 2024, I caused a screenshot to
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     be taken of this webpage, which is shown below.
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            13.     Attached hereto as Exhibit 48 is a true and correct copy of a webpage located at the
22
     following link: https://www.trustpilot.com/review/automattic.com.       The webpage states that
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     Automattic has a Trustpilot rating of 1.8 stars out of 5. On November 3, 2024, I caused a screenshot
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     to be taken of this webpage, which is shown below.
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            14.    Attached hereto as Exhibit 49 is a true and correct copy of a webpage located at the
 9
     following link: https://www.trustpilot.com/review/www.wordpress.com. The webpage states that
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     WordPress.com has a Trustpilot rating of 1.6 stars out of 5. On November 3, 2024, I caused a
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     screenshot to be taken of this webpage, which is shown below.
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 1          I declare under penalty of perjury under the laws of the United States of America and the

 2 State of California that the foregoing is true and correct.

 3          Executed on this 4th day of November, 2024, in Redwood City, California.

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 6                                               By /s/ Sara Jenkins
 7                                                 Sara Jenkins

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 1                                           ATTESTATION
 2          I, Rachel Herrick Kassabian, am the ECF user whose ID and password are being used to file

 3 the above Declaration. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Sara Jenkins has

 4 concurred in the aforementioned filing.

 5                                                   By /s/ Rachel Herrick Kassabian
                                                        Rachel Herrick Kassabian
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